






NO. 07-07-0177-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 25, 2007


	______________________________



GUADALUPE ROSALES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 331ST DISTRICT COURT OF TRAVIS COUNTY;



NO. D-1-DC-06-500380; HONORABLE BOB PERKINS, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON ABATEMENT AND REMAND


	Appellant Guadalupe Rosales has given notice of appeal from a judgment of
conviction and sentence for sexual assault.  The appellate court clerk received and filed
the trial court clerk's record on April 16, 2007.  The trial court reporter's record was filed on
March 21, 2007. 

	Appellant's brief was due on May 16, 2007.  By our letter dated May 24, 2007,
appellant was notified that the brief was due and that the appeal would be abated if the
brief or an appropriate response was not received by June 4, 2007.   No brief or other
response has been received from appellant.  

	Accordingly, this appeal is abated and the cause is remanded to the trial court.  Tex.
R. App. P. 38.8(b)(2).  Upon remand, the judge of the trial court is directed to immediately
cause notice to be given of and to conduct a hearing to determine: 

	(1) 	whether appellant desires to prosecute this appeal; 


  	if appellant desires to prosecute this appeal, then whether appellant
is indigent, and if not indigent, whether counsel for appellant has
abandoned the appeal; 
  	if appellant desires to prosecute this appeal, whether appellant's
present counsel should be replaced; and
  	what orders, if any, should be entered to assure the filing of
appropriate notices and documentation to dismiss appellant's appeal
if appellant does not desire to prosecute this appeal, or, if appellant
desires to prosecute this appeal, to assure that the appeal will be
diligently pursued.



If the trial court determines that the present attorney for appellant should be replaced, the
court should cause the clerk of this court to be furnished the name, address, and State Bar
of Texas identification number of the newly-appointed or newly-retained attorney.  

	In support of its determination, the trial court shall prepare and file written findings
of fact and conclusions of law and cause them to be included in a supplemental clerk's
record.  The hearing proceedings shall be transcribed and included in a supplemental
reporter's record.  Those supplemental records shall be submitted to the clerk of this court
no later than July 25, 2007.


							Per Curiam





Do not publish.  






d argued and she tried to
push him out of the house and close the door on him.  According to Arland’s testimony, she
and Appellant scuffled and he pushed the door in and hit her in the face and ears with his
hand.  He then drove away and she called 911.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An ambulance arrived, but she refused medical treatment because she did not want
to go to the hospital and leave her other two children (by a different father) unattended. 
Police were dispatched to the residence on a domestic dispute call.  She reported to the
responding officer that Appellant had hit her and that she could not hear out of her left ear.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to Arland’s testimony, she visited her obstetrician shortly after the incident
and also consulted an attorney to swear out an affidavit in support of a restraining order
against Appellant.  She did not, however, seek medical attention for her hearing problem
until almost three weeks later.  Arland explained that she was unable to get an appointment
any sooner with Dr. Philip Scolaro, the otolaryngologist (ear, nose, and throat doctor) of her
choice, but acknowledged that she did not call other doctors for an earlier appointment. 
Defense counsel reserved the right to cross-examine Arland at a later time. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Linda Schwartz, the business records custodian for Dr. Scolaro, testified for the
State, without objection, to the contents of Arland’s medical records.  The medical records
were likewise admitted without objection.  Schwartz testified on direct examination that
Arland had an injury to her left eardrum.  During cross-examination, she acknowledged that
according to the audiology report, Arland’s hearing was within normal limits.  On recross-examination, she conceded that Arland’s injury could have been caused by accidently
hitting herself with a door rather than by a slap across the face. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After the State presented its case-in-chief, trial counsel moved for an instructed
verdict, which the trial court denied.  Defense counsel then announced that he was ready
to proceed with his cross-examination of Arland.  Before calling the jury in, the trial judge
announced that Juror Jennifer Colley had approached him to inform him that she
recognized Arland.  Colley was a teacher where Arland’s older daughter attended school. 
Colley had not made the connection because Arland’s daughter had a different last name. 
She was aware of custody issues involving Arland’s daughter and, as a teacher, she had
been instructed that only certain persons were permitted to pick the child up after school. 
However, she assured the judge that she could be objective.  The State and defense
counsel questioned Colley and agreed with the trial judge that she did not need to be
removed from the jury.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After the trial resumed, defense counsel vigorously cross-examined Arland.  He
pursued the theory that she had accidently hit herself with the door when she tried to shut
it on Appellant.  He also exposed certain discrepancies in her testimony and the statement
she made to the responding officer.  Another deviation, although slight, was that Arland
was adamant that Appellant hit her with his hand yet the medical records recited that she
was struck by his fist.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The defense also called James Paul Burns who testified that he knew both Arland
and Appellant very well as former co-workers and friends.  Notwithstanding that Arland is
his friend, he testified that she has a reputation of being “untrustworthy and untruthful.”  He
also testified on cross-examination that Appellant, who is a good friend, has never lied to
him and he was unaware of Appellant ever hitting anyone.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After both sides rested and closed, defense counsel objected to omissions in the
charge which the trial court corrected.  The prosecutor then reported to the trial court that
it had come to his attention that Juror Colley had not been candid when questioned earlier
about her acquaintance with Arland.  The prosecutor reported that, during a trial recess,
Colley had spoken with one of the assistant district attorneys who was not involved in the
case and expressed a predisposed unfavorable opinion of Arland.  In response, defense
counsel requested that the identity of the assistant district attorney be disclosed.  The trial
court denied the request and defense counsel announced that he would not be moving for
mistrial without knowing the content of the conversation between Colley and the assistant
district attorney.  The trial continued and the jury returned a guilty verdict.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The following morning, during the punishment phase, defense counsel informed the
court that he had “reason to believe that that [sic] Assistant District Attorney was Assistant
District Attorney Trey Payne” who Colley had spoken with.  Defense counsel learned that
Colley was Payne’s daughter’s teacher and that Payne dog sat for Colley.  Defense
counsel requested a mistrial explaining that it was the earliest opportunity in which to do
so because the prosecutor’s name had not been disclosed the day before.  Recognizing
that defense counsel’s decision not to seek a mistrial earlier may have been trial strategy,
the court nevertheless denied the motion. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By four issues, Appellant challenges trial counsel’s conduct in the following four
instances:
∙failing to properly preserve error regarding the trial court’s exclusion
of certain e-mail communications;
∙failing to object to the admission of complainant’s medical records;
∙failing to object to Linda Schwartz’s testimony as a medical expert and
her interpretation of the contents of complainant’s medical records;
and
∙failing to move for mistrial following Juror Colley’s communication with
an assistant district attorney.
&nbsp;
Standard of Review
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A claim of ineffectiveness is reviewed under the standard set out in Strickland v.
Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).  Under Strickland, a
defendant must establish that (1) counsel’s performance was deficient (i.e., fell below an
objective standard of reasonableness), and (2) there is a reasonable probability that but
for counsel’s deficient performance, the result of the proceeding would have been different,
a reasonable probability being a probability sufficient to undermine confidence in the
outcome.  Ex parte Ellis, 233 S.W.3d 324, 330 (Tex.Crim.App. 2007); Rylander v. State,
101 S.W.3d 107, 110 (Tex.Crim.App. 2003).  Failure to make the required showing of
either deficient performance or sufficient prejudice defeats the ineffectiveness claim. 
Thompson v. State, 9 S.W.3d 808, 814 (Tex.Crim.App. 1999), citing Strickland, 466 U.S.
at 700.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The adequacy of defense counsel’s assistance is based upon the totality of the
representation rather than by isolated acts or omissions of trial counsel.  Thompson, 9
S.W.3d at 814.  Although the constitutional right to counsel ensures the right to
reasonably effective counsel, it does not guarantee errorless counsel whose competency
or accuracy of representation is to be judged by hindsight.  Robertson v. State, 187
S.W.3d 475, 483 (Tex.Crim.App. 2006).  Appellate review of trial counsel’s representation
is highly deferential and presumes that counsel’s conduct fell within the wide range of
reasonable and professional representation. See Andrews v. State, 159 S.W.3d 98, 101
(Tex.Crim.App. 2005).  See also Bone v. State, 77 S.W.3d 828, 833 (Tex.Crim.App.
2002).  To defeat the presumption of reasonable professional assistance, any allegation
of ineffectiveness must be firmly founded in the record, and the record must affirmatively
demonstrate the alleged ineffectiveness.  See Mallett v. State, 65 S.W.3d 59, 63
(Tex.Crim.App. 2001).  See also Thompson, 9 S.W.3d at 813-14.  However, where the
alleged derelictions are errors of omission not revealed in the record, rather than errors
of commission supported by the trial record, collateral attack may be the vehicle by which
to develop a detailed record of the alleged ineffectiveness.  See&nbsp;Freeman v. State, 125
S.W.3d 505, 506-07 (Tex.Crim.App. 2003).  See generally Massaro v. United States, 538
U.S. 500, 123 S.Ct. 1690, 1694 155 L.Ed.2d 714 (2003) (stating that when a claim of
ineffectiveness is raised on direct appeal, a trial record is usually not sufficiently
developed to establish such a claim).
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The claims of ineffectiveness raised by Appellant on appeal are all alleged errors
of omission beyond the record.  No motion for new trial was filed alleging ineffective
assistance of counsel.  When ineffective assistance of counsel claims are raised on direct
appeal the record is undeveloped and cannot adequately reflect the motive behind trial
counsel’s actions.  Mallett, 65 S.W.3d 59, 63 (Tex.Crim.App. 2001).  “Trial counsel should
ordinarily be afforded an opportunity to explain his actions before being denounced as
ineffective.”  Goodspeed v. State, 187 S.W.3d 390, 392 (Tex.Crim.App. 2005) (quoting
Rylander, 101 S.W.3d at 111).  Absent such an opportunity, an appellate court should not
find counsel’s performance deficient unless his conduct was “so outrageous that no
competent attorney would have engaged in it.”  Garcia v. State, 57 S.W.3d 436, 440
(Tex.Crim.App. 2001), cert. denied, 537 U.S. 1195, 123 S.Ct. 1351, 154 L.Ed.2d 1030
(2003).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant complains that defense counsel was ineffective in failing to preserve error
on the trial court’s ruling to exclude e-mails between Appellant and Arland.  The State’s
objection to admission of the e-mails, which the trial court sustained, was based on
relevance and authentication.  Counsel is not ineffective in failing to preserve error which
is not reversible error.  Doyle v. State, 875 S.W.2d 21, 23 (Tex.App.–Tyler 1994, no pet.). 
See also Mumphrey v. State, 155 S.W.3d 651, 666 (Tex.App.–Texarkana 2005, pet.
ref’d).  Additionally, defense counsel was not given the opportunity to explain his strategy
and we may not speculate on his decision.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant maintains that defense counsel rendered ineffective assistance by failing
to object to admission of Arland’s medical records and by failing to object to Linda
Schwartz testifying about the content of the medical records.  When alleging ineffective
assistance for failure to object, an appellant must demonstrate that the trial court would
have erred in overruling the objection if defense counsel had made one.  See Vaughn v.
State, 931 S.W.2d 564, 566 (Tex.Crim.App. 1996).  Moreover, a failure to object to
admissible evidence does not constitute ineffective assistance of counsel.  Oliva v. State,
942 S.W.2d 727, 732 (Tex.App.–Houston [14th Dist.] 1997), pet. dism’d, 991 S.W.2d 803
(Tex.Crim.App. 1998).  Medical records can be admissible pursuant to Rule 803(6) of the
Texas Rules of Evidence.  If not admitted during Schwartz’s testimony, the records
probably could have been admitted during Arland’s testimony. Appellant has failed to
demonstrate that defense counsel’s failure to object to admission of Arland’s medical
records and Schwartz’s testimony fell below an objective standard of reasonableness.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s final complaint is that defense counsel was ineffective in failing to move
for mistrial following Juror Colley’s communication with an assistant district attorney. 
When first raised, defense counsel was under the impression that Colley had an
unfavorable opinion of Arland.  The trial court recognized that it may have been trial
strategy for defense counsel not to move for mistrial at that time.  However, defense
counsel was not given the opportunity to defend against Appellant’s claim of
ineffectiveness for failing to seek a mistrial.  Moreover, mistrials should be granted only
when an objectionable event is “so emotionally inflammatory that curative instructions are
not likely to prevent the jury from being unfairly prejudiced against the defendant.”  See
Sanders v. State, 25 S.W.3d 854, 858 (Tex.App.–Houston [14th Dist.] 2000), pet. dism’d,
56 S.W.3d 52 (Tex.Crim.App. 2001).  Because we can only speculate on counsel’s
strategy which would be improper, Goodspeed, 187 S.W.3d at 394, Appellant’s allegation
is not firmly founded in the record.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In sum, defense counsel presented a solid defense.  Not only did he effectively and
vigorously cross-examine the State’s witnesses, he also presented the theory that Arland
may have accidentally hit herself with the door.  Through Burns’s testimony he challenged
Arland’s credibility.  Without a motion for new trial or other opportunity for counsel to
defend his strategy, we decline to find his performance deficient.  Based on the totality of
the representation, we are unable to conclude that Appellant has demonstrated that
defense counsel’s performance fell below an objective standard of reasonableness or that
counsel’s conduct was so outrageous that no competent attorney would have engaged
in it.  Appellant has failed to meet the first prong of Strickland.  We overrule all four issues.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, the trial court’s judgment is affirmed.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

&nbsp;
&nbsp;
Do not publish.


